    Case 2:10-cr-00204-NJB-JVM           Document 331        Filed 04/27/11         Page 1 of 4




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                               CRIMINAL ACTION

VERSUS

KENNETH BOWEN                                                          NO. 10-204
ROBERT GISEVIUS
ROBERT FAULCON
ANTHONY VILLAVASO
ARTHUR KAUFMAN
GERARD DUGUE                                                           SECTION "N" (1)


                                   ORDER AND REASONS

               Pending before the Court are motions to suppress filed by one or more of the

defendants (Rec. Docs. 253, 256, and 265). Having carefully considered the parties’ submissions

and applicable law, the Court rules on the motions as stated herein.

I. Motion to Suppress Statements Based on Garrity and Miranda Violations (Rec. Doc. 256)

               Under Garrity v. New Jersey, 385 U.S. 493 (1967), statements elicited from a police

officer as a result of a compelled choice between self-incrimination and loss of a public job are

inadmissible. See, e.g., United States v. Trevino, 215 Fed. Appx. 319, 320, 2007 WL 295505, *1

(5th Cir. 2007). The threat of termination may be explicit or implicit. Id. at 321-22, 2007 WL

295505 at *2. Thus, to determine whether the Garrity rights of Defendants Bowen, Gisevius,



                                                1
    Case 2:10-cr-00204-NJB-JVM             Document 331        Filed 04/27/11      Page 2 of 4




Faulcon, and/or Villavaso were violated, the Court considers all surrounding circumstances,

specifically focusing on whether the questioning was coercive. Here, looking at the objective

circumstances surrounding the defendants’ questioning, the Court concludes that they were not faced

with “the Hobson's choice of either making an incriminating statement or being fired . . . . ” Id. at

322, 2007 WL 295505 at *2 (internal quotations omitted). Accordingly, IT IS ORDERED that the

motion is DENIED.

                 In support of this determination, the Court notes, as asserted by the Government in

its opposition memorandum (Rec. Doc. 270), that, at the time of the September 2005 and January

2006 statements in question, the defendants were not under investigation by the New Orleans Police

Department. Rather, the statements purportedly were made as alleged victims and witnesses as part

of a criminal investigation of an alleged attempted murder of police officers. Further, there is no

evidence that any of the officers attempted, or even desired, to assert his Fifth Amendment right

against self-incrimination, but did not because he actually and subjectively believed doing so would

result in termination or other employment sanction. Finally, on the showing made, the Court cannot

conclude that any such belief would have been objectively reasonable under these factual

circumstances.

                 The Court likewise finds these defendants’ Miranda challenges deficient. The Fifth

Amendment rights recognized in Miranda v. Arizona, 384 U.S. 435 (1966), apply only to statements

made while “in custody.” Here, the movants fail to demonstrate the existence of circumstances

putting them in custody, for Miranda purposes, rather than simply “on duty” or “working”, at the

time the statements in question were made.




                                                  2
    Case 2:10-cr-00204-NJB-JVM            Document 331         Filed 04/27/11      Page 3 of 4




II. Defendant Dugue’s Motion to Suppress (Rec. Doc. 253)

               Defendant Dugue’s motion to suppress concerns his September 29, 2009 statement

to FBI agents and Department of Justice attorneys. IT IS ORDERED that, on the showing made

and for essentially the reasons stated by the Government in its opposition memorandum (Rec. Doc.

271), the motion is DENIED.

               As an initial matter, Dugue’s original supporting memorandum (Rec. Doc. 253) does

not set forth sufficient factual and legal support for his motion. In his March 30, 2011 reply

memorandum, however, he stresses the need for an evidentiary hearing relative to his motion.

Nevertheless, at the April 1, 2011 status conference, Dugue’s counsel did not advise the Court that

the hearing date for his motion should be continued to April 18, 2011, the date set for evidentiary

hearings on pending motions to suppress. Nor did he seek modification of the Court’s April 4, 2011

Order, noting that, as stated during the April 1st conference, Dugue’s motion would be taken under

advisement on Friday, April 15, 2011, oral argument would not be heard, and that counsel and

parties did not need to appear. See Rec. Doc. 276. Finally, he did not attempt to offer evidence

concerning his September 29, 2011 statement at the April 18, 2011 hearing, though counsel and

Dugue were present for the entirety of the pertinent portions of the hearing. Thus, the Court rejects

any suggestion that Dugue should have been granted, but instead was denied, an evidentiary hearing

relative to his motion.

               The remainder of Dugue’s reply memorandum also fails to demonstrate the merit of

his motion. The Court again rejects his “perjury” argument. See Rec. Doc. 166. To the extent that

Dugue purports to assert a Miranda violation, that argument fails because he has not established that

he was “in custody” for Miranda purposes of September 29, 2009. He likewise was not a grand


                                                 3
    Case 2:10-cr-00204-NJB-JVM            Document 331        Filed 04/27/11      Page 4 of 4


jury witness for purposes of Section 9-11.151 of the United States Attorneys Manual, 2000 WL

1708122 (U.S.A.M.). Nor does he adequately support the notion that any non-compliance with that

Department of Justice policy, taken alone, would warrant suppression of an otherwise valid

statement.

               Finally, to the extent that Defendant Dugue seeks to adopt the Garrity arguments

asserted in the motion to suppress filed by Defendants Bowen, Gisevius, Faulcon, and Villavaso

(Rec. Doc. 256), his submission does not make the evidentiary showing necessary to establish a

Garrity violation relative to his September 29, 2009 statement. This is particularly true given the

acknowledgments of the voluntary nature of the interview reflected in the FBI Report Excerpt

attached to the Government’s opposition memorandum (Rec. Doc. 271-1). And, as with the other

officers, there is no evidence that Dugue attempted, or even wanted, to assert his Fifth Amendment

right against self-incrimination, but did not because he actually and subjectively believed doing so

would result in termination or other employment sanction. Nor is it made evident to the Court that

any such belief would have been objectively reasonable under the circumstances.

III. Defendant Kaufman’s Motion to Suppress (Rec. Doc. 265)

               On the showing made, and for essentially the reasons stated by the Government in

its opposition memorandum(Rec. Doc. 272), IT IS ORDERED that Defendant Kaufman’s Motion

to Suppress (Rec. Doc. 265), is DENIED. Specifically, the Court is not persuaded that the

referenced August 5, 2009 search warrant was based on stale information.

               New Orleans, Louisiana, this 27th day of April 2011.



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                                                             KURT D. ENGELHARDT
                                                             United States District Judge


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